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        IN THE UNITED STATES DISTRIC COURT
      FOR THE NORTHERN DISTRICT OF GEORGIA
                 ATLANTA DIVISION
                                                               FILED IN CLERK'S OFFICE
                                                                   U.S.D.C. -Atlanta

                                                                       AUG 17 2022
RAISSA DJUISSI KENGNE,                                             KEVIN P WEIMER, Clerk
                                            )
                                                                  By:'?a,a,...-(~   ty Clerk
Plaintiff,                                  )
                                            )   Case No.
V.                                          )   1:22-CV-2297
ID.ME, INC.                                 )
COGENCY GLOBAL INC.                         )
250 BROWNS HILL CT,                         )
MIDLOTHIAN , VA, 23114 - 9510, USA          )
                                            )
Defendant.                                  )




     PLAINTIFF'S MOTION TO STAY THE CASE AND BRIEF IN

                                SUPPORT




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TO THE HONORABLE JUDGE OF SAID COURT:

       PLAINTIFF, RAISSA DJUISSI KENGNE ("Plaintiff' or "Whistleblower")

files this Motion To Stay The Case And Brief In Support pursuant to 28 U.S. Code

§ 1441 and 28 U.S. Code§ 1447. For the reasons set forth in this instrument, Plaintiff

respectfully requests that this Court stay the case.

       In order to avoid the potentially unnecessary cost and burden of litigation,

Plaintiff moves that this case including their answers be stayed pending a ruling on

Plaintiff's Appeal.


                            PROCEDURAL POSTURE


       PlaintiffRaissa Djuissi Kengne filed the Complaint and the request to proceed

IFP on June 6 th , 2022, ( doc. 1).

       Judge Catherine M. Salinas issued the first Recommendation and Report

("R&R") and order denying (Doc. I) Application for Leave to Proceed in forma

paupens.

       Plaintiff Raissa Djuissi Kengne filed a Motion for Reconsideration and

Response and Objections to the first R&R and Order on July 1st, 2022.

       Shortly thereafter, Plaintiff Rai.ssa Djuissi Kengne filed a Motion for Appeal

on the R&R and Order of Judge Catherine M.. Salinas on July 51'1, 2022.



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      On August 5th, 2022 , Judge Catherine M. Salinas issued the following report

and recommendation and order, which was the second R&R and order on this case:

          ■   Ordered that Plaintiffs application to proceed IFP be denied.

          ■   Recommended that Plaintift1 s complaint be dismissed without

              prejudice.

          ■   Directed to terminate the submission and/or reference.

      On August 17 th , 2022, Plaintiff Raissa Djuissi Kengne filed a Response and

Objections to (Docs. 7, 8) the second Report and Recommendatio n and objected to

the R&R and order being adopted to the extent it recommends that 1) Plaintiffs

application to proceed IFP be denied, 2) Plaintiffs complaint be dismissed without

prejudice for lack of subject matter jurisdiction and for failure to comply with a

lawful order of the Court.

      Plaintiff Raissa Djuissi Kengne filed a Notice of Appeal of the Court's R&R

and order on August 17th, 2022.

      Plaintiff Raissa Djuissi Kengne now seeks to stay the case pending the

outcome of the appeal.


          ARGUMENT AND CITATION OF AUTHORITY


      The Supreme Coutt has explained that "a federal district court and a federal



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court of appeals should not attempt to assert jurisdiction over a case simultaneously.

The filing of a notice of appeal is an event of jurisdictional significance -- it confers

jurisdiction on the court of appeals and divests the district court of its control over

those aspects of the case involved in the appeal." Griggs v. Provident Consumer

Discount Co., 459 U .S. 56, 58, 103 S. Ct. 400,401, 74 L. Ed. 2d 225 (1982).

      As the Eleventh Circuit has explained, once a notice of appeal has been filed,

the "district court retains only the authority to act in aid of the appeal, to correct

clerical mistakes, or to aid in the execution of a judgment that has not been

superseded." Showtime/The Movie Channel, Inc. v. Covered Bridge Condominium

Ass'n, Inc., 895 F.2d 711, 713 (11th Cir. 1990).

      Moreover, Rule 26(d) of the Federal Rules of Civil Procedure provides the

Court broad discretion to alter the sequence of discovery "for the convenience of

the parties . .. and in the interests ofjustice." Fed. R. Civ. P. 26(d).

      Further, federal courts routinely exercise their power to stay a proceeding

where a stay would promote judicial economy and efficiency. See, e.g., Miccosukee

TribeoflndiansofFla. v. S. Fla. Water Mgmt. Dist., 559F.3d 1191, 1198 (11th Cir.

2009) (approving district court's decision to stay case pending appeal in another case

that was "likely to have a substantial or control ling effect on the claims and issues

in the stayed case"). As any decision from the Court of Appeals will have profound



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impact on the development of this case and because it is in the interests of efficiency

and justice, this Com1 should exercise its discretion this case and relieve the parties

from having to exert additional resources pending a ruling on Plaintiffs appeal.

      This case does not involve novel questions related to the constitutionality of

a state statute. As pat1 of the review related to the appeal, the Circuit Court of

Appeals will necessarily be required to examine the viability of Plaintiffs claims.

As such the issues on appeal bear directly on the further adjudication of this case

before this Court.

      The issues in the pending appeal mirror the issues remaining in this court and

Plaintiff believes that in the interest of judicial economy, and a desire to conserve

the resources of the parties that a stay of the case is warranted.


                                      CONCLUSION

      For these reasons, Plaintiff respectfully requests that the Court stay this

matter until the appeal is adjudicated.




(Signature page follows)




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Dated: August 17th, 2022


                                              Respectfully submitted,




                                              Raissa Djuissi Kengne
                                              Pro Se

Physical Address:                             Mailing Address :
1280 W. Peachtree ST NW. Unit 2109            570 Piedmont Ave. NE #55166

Atlanta, GA 30309                             Atlanta, GA 30308
Telephone: (404) 932-1651
Email: cianeseya2022(a)gmail.com


State of Georgia
County of Fulton

This instrument was acknowledged before me this l?lh day of August (month),
 O (year), by Raissa Djuissi Kengne (name of signer) .



+   Personally Known
- - Produced Identification
Type and # of ID - Driver's License # 055

(Sea l)



        Jocelyn Algarin
       NOTARY PUBLIC                                                  g_[t~ .
    Cobb County, GEORGIA                       ,                      rued )
My Commission Expires 03/08/2026              Notary Public, State of Georgia




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                        CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on August 17th, 2022, all counsel of

record who are deem~d to have consented to electronic service are being served a

true and correct copy of the foregoing document using the Court's CM/ECF system,

in compliance with Local Rules, by mailing the same, certified mail with return

receipt, to the address listed below.


 ID.ME, INC .
 COGENCY GLOBAL INC.
 250 BROWNS HILL CT,
 MIDLOTHIAN, VA, 23114- 9510, USA


Respectfully submitted,




Raissa Djuissi Kengne .
Pro Se


Mailing Address :                       Physical Address:
570 Piedmont Ave. NE #55166             1280 W. Peachtree ST NW. Unit 2109
Atlanta, GA 30308                       Atlanta, GA 30309
Telephone: (404) 932-1561
cianeseya2022@gmai1 .com



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